    Case: 1:25-cv-07136 Document #: 1-11 Filed: 06/26/25 Page 1 of 3 PageID #:318
                                                                  U.S. Department of Homeland Security
                                                                  1331 Pennsylvania Avenue, NW
                                                                  Washington, DC 20229

                                                                  U.S. Customs and
                                                                  Border Protection


April 07, 2024


Controlled F.O.R.C.E. Inc.
ATTN: Diana Grano
335 N River St Ste. 200
Batavia, IL 60510

RE: SD Case No. CBP-2025-0221-001

Dear Diana Grano:

This letter serves to advise you that the U.S. Customs and Border Protection (CBP) Suspension
and Debarment Branch (SD) is considering recommending to the CBP Suspension and
Debarment Official (SDO) that Controlled F.O.R.C.E. Inc. (CFI) be suspended, or alternatively
be proposed for debarment, under the Federal Acquisition Regulation (FAR), 48 C.F.R. subpart
9.4.

CBP is considering this action because of the high failure rate on providing ground transportation
services in the Arizona/California corridor, a mission critical activity.

CFI Contract and Cure Notice

On September 30, 2021, CBP contracted with CFI under contract order 70B03C24A00000024
for a total value of $24,672,766.04 for transportation and guard services. 1 Under the
Mobilization Plan Version 9, which was received and accepted via email on July 29, 2024, CFI
was to activate all services in all sectors by December 15, 2024. 2 CBP monitored the metrics for
each sector according to the Mobilization Plan and issued a cure notice to CFI on December 26,
2024.3 See 48 C.F.R. § 49.607(a). The cure notice detailed the high route failure for each border
section. 4 The cure notice gave CFI 30 days in which to fix the high route failure by
implementing full service within the Arizona/California Corridor and to meet milestone goals set
in the Mobilization Plan, including providing the required number of vehicles and transportation
officers. 5




1
  See Attachment 1 – Contract Order
2
  See Attachment 2 – Cure Notice at 1; Cure Notice Attachment 2
3
  Id.
4
  Id.
5
  Id.
    Case: 1:25-cv-07136 Document #: 1-11 Filed: 06/26/25 Page 2 of 3 PageID #:319

SD Case No. CBP-2025-0221-001; Show Cause


You emailed CBP on January 20, 2025, and raised three primary concerns (staffing, operational
delays, and vehicle status) in CFI’s ability to fulfill the contract. 6 Contracting Officer Amanda
Freeman issued a response on January 22, 2025, indicating that CFI was responsible for hiring
and appropriately staffing to meet all performance requirements in the Performance Work
Statement, there are no specific timeframes on vehicle inspections or background investigations
undertaken by CBP, and vehicles must be approved by the Government before they are accepted
for contract fulfillment. 7 In reference to the concern regarding operation delays due to route
restrictions in Yuma, “on January 16, 2025, Amanda Freeman requested that CFI supply the
Government with a proposed updated Transportation Plan for January 2025, which CBP ha[d]
not received as of the date of this response.” 8

On January 23, 2025, you wrote to CBP requesting an extension of time in which to meet the
terms of the cure notice based on staffing and vehicle acquisition difficulties. 9 Amanda
Freeman’s response was that the 30-day cure notice deadline was still in effect and no extension
would be permitted. 10

Termination for Cause

On January 31, 2025, Contracting Officer David Seay issued a Notice of Termination for cause
pursuant to Federal Acquisition Regulation (FRA) Clause 52.212-4(m) (Alternate I) because of
the continued high route failure which continued even after the issuance of the cure notice. 11
The Notice of Termination was received by CFI on the same day. 12

The termination notice indicated that “As is stated in Section 5.1.1 of the Performance Work
Statement as the Performance Standard for Operational Responsiveness, ‘[a]t a minimum, 95%
of all routes identified in the Government-approved Monthly Transportation Plans (TP) begin on
time and are completed. A completed route/mission is defined as a route/mission that starts on
time, is completed as directed and in accordance with the approved Sector TP, and/or Task Order
Monitor (TOM)’s direction.’ To date, CFI has failed to meet the minimum requirements for
vehicles and personnel to successfully complete a monthly transportation plan.” 13

After the cure notice was issued, David Seay determined that CFI completed only 45% of routes
in the Yuma Sector, 19% in the Tucson Sector, and did not complete any routes in the El Centro
and San Diego Sectors. 14 CFI has appealed its termination for cause to the Civilian Board of
Contract Appeals on February 10, 2025. 15



6
  See Attachment 3 – Meeting Request
7
  Id.
8
  Id.
9
  See Attachment 4 – Extension Request
10
   Id.
11
   See Attachment 5 – Termination Notice
12
   See Attachment 6 – Receipt Notice
13
   See Attachment 5 – Termination Notice
14
   Id. at 2.
15
   See Attachment 7 – Notice of Appeals

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   Case: 1:25-cv-07136 Document #: 1-11 Filed: 06/26/25 Page 3 of 3 PageID #:320

SD Case No. CBP-2025-0221-001; Show Cause


Based on the responses from CFI and the adverse impact on CBP operations and administrative
burden caused by CFI’s failure to perform, or of unsatisfactory performance, of its contract,
CBP SD is concerned about CFI’s ability to fulfill government contracts, which casts doubt on
CFI’s present responsibility as a government contractor and could provide a basis for suspension
or debarment under 48 C.F.R. §§ 9.406-2(b) or 9.407-2.

No recommendation or decision has been made at this point. The purpose of this letter is to
solicit a response before a decision is made about whether to recommend the CBP SDO suspend
CFI or propose CFI be debarred. CBP would like information regarding all steps CFI has taken
to address the underlying issues resulting in the contract termination.

You may take advantage of this opportunity to provide information or evidence which you
believe is relevant to this matter, and that may demonstrate that CFI is presently responsible. If
you choose to respond, you must do so in writing within thirty (30) calendar days of receiving
this notice. Your submission may include any information about the procedures CFI has put in
place to address the underlying issues leading to the contract termination. All timely submissions
will be considered. All statements made must be true and accurate; false statements are
punishable under Title 18, United States Code, § 1001.

You may submit any information via e-mail or via overnight delivery. Communication via e-
mail should be sent to: CBPSuspensionandDebarment@cbp.dhs.gov. If you decide to
communicate through the United States Postal Service or other overnight delivery service you
should direct your communications to:

U.S. Customs and Border Protection
ATTN: Suspension and Debarment Branch
1331 Pennsylvania Ave NW
Mailstop 1142
Washington, DC 20229

Should you fail to respond to this letter within thirty (30) calendar days of receipt, I will
evaluate the case based on the information currently available to CBP SD. We may also
consider your failure to respond as a factor affecting your present responsibility as a government
contractor or participant.



                                          Sincerely,




                                          Virginia McPherson
                                          CBP Suspension and Debarment Official




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